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                                          July 18, 2024

VIA ECF

Hon Susan M. Brnovich, U.S.D.J.
Sandra Day O'Connor U.S. Courthouse, Suite 526
401 West Washington Street, SPC 19
Phoenix, AZ 85003-2151
Phone: (602) 322-7540

        Re: Zhang et al v. Voice of Guo Media Incorporated et al, No. 2:21-cv-01079 (SMB)


         Dear Judge Brnovich,

         Pursuant to Your Honor’s Order (ECF No. 108) after the Telephonic Status Conference

on July 15, 2024, Plaintiffs write to inform the Court of the verdict in the criminal proceedings in

the Southern District of New York, titled USA v. Guo, No. 1:23-cr-00118. On Tuesday, July 16,

2024, the defendant, Miles Guo, a/k/a Guo Wengui, a/k/a Ho Wan Kwok, etc. was found guilty

of nine out of twelve counts levied against him and acquitted on three charges. The counts he

was found guilty of were:

        Conspiracy to commit racketeering,

        Conspiracy to commit wire fraud or bank fraud,

        Conspiracy to commit money laundering,

        Conspiracy to commit securities fraud,

        Wire fraud – Farm Loan Program,
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      Securities fraud – Farm Loan Program,

      Wire fraud – G Clubs, and

      Securities fraud – G Clubs.

Not guilty verdicts were returned for the below charges:

      Wire fraud – GTV private placement,

      Securities fraud – GTV private placement, and

      Unlawful monetary transactions.

   As Your Honor will recall, a stay was put in place on the adversary proceedings related to

this case in the bankruptcy proceedings until the disposition of the above criminal case; that stay

should now be lifted. In addition, the Bankruptcy Trustee has received an extension until

November 27, 2024 to remove any civil cases.

   We are happy to answer any questions that Your Honor may have.



                                                             Very truly yours,

                                                             s/ Benjamin Y. Kaufman
                                                             Benjamin Y. Kaufman

                                                             Attorney for Plaintiffs and Class
